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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                           CASE NO.: 19-24539-CIV-MORENO/LOUIS

  HAPPY TAX FRANCHISING, LLC, et al.,

         Plaintiffs,

  v.

  JAMEY HILL et al.,

        Defendants.
   ____________________________________/

                             REPORT AND RECOMMENDATION

         THIS CAUSE comes before the Court upon Defendants Jamey Hill, The JL Hill Group,

  LLC (“Hill Group”), Tricia Drago, Banyan Accounting, LLC (“Banyan”) and Sean McDonald’s

  Motion to Dismiss Plaintiffs’ Second Amended Complaint (ECF No. 41); Defendant Melissa

  Salyer’s Motion to Dismiss Plaintiffs’ Second Amended Complaint (ECF No. 51); and Defendants

  Johnnie Jemel Mainer-Smith and Bottom Line Tax Services, LLC’s (“Bottom Line”) Motion to

  Dismiss Plaintiffs’ Second Amended Complaint (ECF No. 58). These matters were referred to the

  undersigned United States Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(A) by the

  Honorable Federico A. Moreno, United States District Judge, to decide all pretrial matters (ECF

  No. 49). Having carefully considered the Motions, responses thereto, and with the benefit of oral

  argument conducted on August 27, 2020, the undersigned recommends that Defendants’ Motions

  be GRANTED; Plaintiffs’ Second Amended Complaint be dismissed without prejudice; and that

  Defendant Salyer be dismissed with prejudice.




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      I.      BACKGROUND

      A. Factual Background

           The following facts are derived from Plaintiffs Happy Tax Franchising LLC (“Happy

  Tax”) and Mario Costanz’s Second Amended Complaint (ECF No. 36). Since 2015, Happy Tax

  has operated a nationwide network that provides tax preparation services to consumers through

  franchisees and certified public accountants (id. at ¶ 18). Between 2015 and 2018, Happy Tax

  entered into separate Franchise Agreements with Defendants Hill Group, McDonald, Greene,

  Banyan and Bottom Line (collectively “Franchisee Defendants”) (id. at ¶ 22). In connection with

  its Franchise Agreement, Hill Group also executed a Promissory Note guaranteed by Hill (id. at

  ¶¶ 31, 35). Each Franchise Agreement contained an identical non-disparagement clause that was

  to survive termination (id. at ¶¶ 22, 23), and also included covenants not to take any actions that

  would injure or prejudice the goodwill associated with Happy Tax’s business model (id. at ¶ 25).

           In 2019, Tricia Drago, owner/operator and sole member of Banyan (id. at ¶ 8), began

  forming a group of investors to purchase Costanz’s ownership interest in Happy Tax (id. at ¶ 58).

  Costanz provided Drago with the required due diligence concerning Happy Tax’s finances and

  business operations, yet the two were unable to reach an agreement (id. at ¶ 59). Plaintiffs allege

  that Drago was upset by her inability to acquire ownership interest in Happy Tax, and as a result,

  Drago began recruiting other Happy Tax franchisees to take part in an unlawful scheme to destroy

  the company (id. at ¶¶ 60). In mid-2019, she and “other Franchisee Defendants whom Drago

  recruited” allegedly began a “destructive campaign of defamation and commercial disparagement”

  (id. at ¶ 61).

           The Second Amended Complaint alleges that on numerous occasions, Defendants Salyer

  and Pevin, among other Happy Tax team members, informed Costanz that Drago and each of the



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  Defendants that Drago had recruited were making and publishing false, defamatory and injurious

  statements regarding Happy Tax and Costanz (id. at ¶ 62). These defamatory statements included

  falsely telling Happy Tax team members and potential investors that there was criminal activity at

  the company, that Costanz was a fraud and was dishonest, that Happy Tax’s financials and

  franchise disclosures were fraudulent, and that a big class action type lawsuit was coming against

  the company and its team members (id.). The Second Amended Complaint further alleges that this

  campaign to destroy the company and ruin Costanz’s business reputation went on for months, and

  included, among others, Drago (individually and on behalf of Banyan), Hill (individually and on

  behalf of Hill Group), Mainer-Smith (individually and on behalf of Bottom Line), McDonald and

  Greene (id. at ¶ 64).

          The Second Amended Complaint describes six specific defamatory emails that were sent

  either by “Drago and each of the Defendants that Drago had recruited” (id. at ¶ 62), “a person or

  entity or group of persons acting in concert” (id. at ¶ 79), or “by Defendants” (id. at ¶¶ 82, 84).

  These emails were allegedly sent to “Happy Tax franchisees, employees, board members and

  others” (id. at ¶ 79), including: Knox Wimberly, Happy Tax’s Chief Tax Officer (id. at ¶ 84);

  Nathan Pratt, Happy Tax’s Director of Marketing (id. at ¶ 89); “a new major investor in Happy

  Tax” (id. at ¶ 91) and other “third parties” (id. at ¶ 82).

          Plaintiffs contend that as a result of this defamation campaign, they sustained damages in

  excess of $5,000,000: (i) Happy Tax suffered losses of at least approximately $1-2 million in

  franchise sales fees in 2019 alone because Happy Tax could not onboard any new franchisees

  under these conditions; (ii) Happy Tax lost significant future royalties and note payments

  associated with new franchisees; (iii) numerous key Happy Tax team members refused to sell any

  new franchises, and resigned their positions with the company for fear of these Defendants’



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  defamatory and destructive actions; and (iv) numerous existing franchisees terminated their

  business relationships with Happy Tax due to Defendants’ continued interference with the

  company’s business operations (id. at ¶ 66). It is also alleged that this defamation campaign caused

  Salyer, Happy Tax’s Executive Vice President of Business Development, to resign on September

  9, 2019 (id. at ¶ 71).

          Plaintiffs aver that just days prior to her departure, Salyer, acting alone and in concert with

  Pevin, Happy Tax’s Vice President of Operations, misappropriated and diverted confidential

  business materials belonging to Happy Tax to Salyer’s personal email (id. at ¶ 73). These

  misappropriated materials included protected and non-public customer data and information

  regarding the Happy Tax Model (id). Salyer and Pevin allegedly utilized these misappropriated

  materials in connection with a business they jointly established called “Franchise Discovery” (id.

  at ¶ 75). Accordingly, Pevin was fired shortly thereafter (id. at ¶ 76).

      B. Procedural Background

          These claims were originally brought in two separate lawsuits. Plaintiffs initially filed this

  lawsuit in state court on October 4, 2019, against Defendants Jamey Hill and the Hill Group only.

  The suit was removed to this Court on November 1, 2019 (ECF No.1). On November 4, 2019,

  Plaintiffs also filed a related case before this Court, Happy Tax Holding Corp. et al. v. Jamey Hill

  et al., Case No. 19-cv-24552-JEM (“Related Case”), against all the Defendants presently named

  in the instant action (Related ECF No. 1). The Related Case was dismissed without prejudice due

  to its overlap with the instant action, and Plaintiffs were given leave in the instant action to amend

  the Complaint to include all claims and defenses raised in the Related Case (Related ECF No. 57).

  The Second Amended Complaint, which encompasses claims initially raised in the Related Case,

  was filed on April 10, 2020 (ECF No. 36).



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         The Second Amended Complaint contains nine counts against the various Defendants:

  Count I – Defamation Per Se (Plaintiffs Against Hill, Drago, Mainer-Smith, McDonald, Greene,

  Salyer and Pevin); Count II – Defamation (Plaintiffs Against Hill, Drago, Mainer-Smith,

  McDonald, Greene, Salyer and Pevin); Count III – Breach of Franchise Agreements (Happy Tax

  Against Franchisee Defendants); Count IV – Tortious Interference With Advantageous Business

  Contracts and Relationships (Happy Tax Against Franchisee Defendants); Count V –

  Misappropriation of Trade Secrets Pursuant to Florida’s Uniform Trade Secret Act (Happy Tax

  Against Salyer and Pevin); Count VI – Breach of Fiduciary Duty and Duty of Loyalty (Happy Tax

  Against Salyer and Pevin); Count VII – Aiding and Abetting a Breach of Fiduciary Duty (Happy

  Tax Against Pevin); Count VIII – Breach of Promissory Note (Happy Tax Against Hill Group);

  and Count IX – Breach of Guaranty (Happy Tax Against Hill).

         Defendants Jamey Hill, Hill Group, Tricia Drago, Banyan and Sean McDonald filed their

  Motion to Dismiss Plaintiffs’ Second Amended Complaint on April 27, 2020 (ECF No. 41). The

  Hill Group Defendants argue that the Second Amend Complaint should be dismissed pursuant to

  Rules 8 and 12(b)(6), Federal Rules of Civil Procedure, for Plaintiffs fail to state a facially

  plausible legal claim for defamation, and further contend that the Single Publication Rule bars all

  other remaining claims (ECF No. 41). Defendant Salyer’s Motion to Dismiss similarly argues that

  Plaintiffs’ Second Amended Complaint should be dismissed under Rule 12(b)(6) and 8(a) for

  failure to state a claim for defamation (ECF No. 51). Salyer additionally argues that the Court lacks

  personal jurisdiction over her (id.). Finally, Defendants Mainer-Smith and Bottom Line filed a

  Motion to Dismiss Plaintiffs’ Second Amended Complaint (ECF No. 58), which raises the

  arguments presented by the Hill Group and further argues that the Court should take judicial notice

  of pleadings and admissions filed in the Related Case and, in turn, dismiss the current claims as



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  factually inconsistent on the basis of judicial estoppel (ECF No. 58). The Bottom Line Defendants

  also aver that Plaintiffs failed to state a claim for Tortious interference (id.).

            Plaintiffs filed Responses in opposition to both the Hill Group and Bottom Line

  Defendants’ Motions to Dismiss (ECF Nos. 50, 55). Plaintiffs responded to Salyer’s Motion to

  Dismiss, and further sought leave to take jurisdictional discovery from Salyer (ECF Nos. 59, 60).

  I granted leave to take judicial discovery (ECF No. 63), and Plaintiff thereafter filed a

  Supplemental Response to Salyer’s Motion to Dismiss based on the newly discovered facts (ECF

  No. 71). Defendants have all replied (ECF Nos. 55, 67, 73). The Motions are now fully briefed.

      II.      DISCUSSION

            Defendants, in all three of their Motions to Dismiss, assert the following grounds for

  dismissal: (1) the Amended Complaint fails to comply with Rule 8(a)(2) of the Federal Rules of

  Civil Procedure; and (2) the Amended Complaint fails to state a claim for which relief can be

  granted in violation of Rule 12(b)(6) of the Federal Rules of Civil Procedure. Two of the Motions

  to Dismiss further argue that all claims other than defamation should be dismissed under the Single

  Publication Rule. Because these Motions raise many of the same grounds for dismissal, the Court

  will jointly address the issues raised in all three Motions in this Report and Recommendation.

      A. Rule 8(a)(2)

            To adequately plead a claim for relief, Federal Rule of Civil Procedure 8(a)(2) requires a

  “short and plaint statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ.

  P. 8(a)(2). “A shotgun complaint is one that, for example: (1) contains multiple counts where each

  count adopts the allegations of all preceding counts; (2) is replete with conclusory, vague, and

  immaterial facts not obviously connected to any particular cause of action; (3) fails to separate into

  a different count each cause of action; or (4) asserts multiple claims against multiple defendants



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  without specifying which defendant is responsible for which act.” Embree v. Wyndham Worldwide

  Corp., 779 F. App’x 658, 662 (11th Cir. 2019).

          Plaintiffs’ Second Amended Complaint’s initial 101 paragraphs attempt to lay out the

  history, background and numerous misdeeds of the various Defendants. These paragraphs are ripe

  with overly broad and conclusory statements, as well as contradicting facts and assertions. For

  example, it is averred that “Drago and other Franchisee Defendants whom Drago recruited to take

  part in her scheme began a destructive campaign of defamation and commercial disparagement

  against Plaintiffs” (ECF No. 39 at ¶ 61). The allegation fails to specify which other Franchisee

  Defendants participated in the alleged scheme, but indicates that not all Defendants participated.

  It is then alleged that “[o]n numerous occasions, Salyer and Pevin, among other Happy Tax team

  members, informed Costanz that Drago, and each of the Defendants that Drago had recruited, were

  making and publishing false, defamatory and injurious statements regarding Happy Tax and

  Costanz” (id. at ¶ 62). This again fails to specify which Defendants other than Drago were

  involved, but seems to indicate that Salyer and Pevin did not participate in the defamation scheme

  – rather, they alerted Plaintiffs to it. Plaintiffs then put forth the vague assertion that “a person or

  entity or group of persons acting in concert” were responsible for the publication of defamatory

  statements, indicating Plaintiffs do not in fact know who was responsible (id. at ¶ 79). Yet,

  Plaintiffs generally allege that all Defendants were part of the defamation scheme (id. at ¶¶ 82,

  84).

          The Complaint’s deficiency caused by the failure to allege facts specific to each

  Defendant’s conduct is exacerbated by Plaintiffs’ incorporation of all paragraphs into each count.

  This makes it impossible to decipher which Defendants are responsible for which act. Plaintiffs

  may not abrogate their duty to allege specific acts for which each Defendant is accountable by



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  generically alleging that each Defendant participated in the conspiracy to defraud; yet that is

  precisely what the Second Amended Complaint does. Furthermore, by incorporating the first 101

  paragraph into each count, Plaintiffs incorporate conclusory, vague, and immaterial facts not

  obviously connected to that particular claim. “This characteristic alone constitutes a shotgun

  pleading.” Lacayo v. Wells Fargo Bank, N.A., No. 16-CV-23187, 2018 WL 6807344, at *10 (S.D.

  Fla. Nov. 30, 2018), report and recommendation adopted, No. 16-23187-CIV, 2019 WL 1115880

  (S.D. Fla. Jan. 14, 2019), appeal dismissed, No. 19-10550-AA, 2019 WL 2214122 (11th Cir. Apr.

  18, 2019) (holding the reincorporation of the first 112 numbered paragraphs into each of its

  numerous causes of actions against numerous and distinct defendants alone constituted a shotgun

  pleading).

         In short, the Second Amended Complaint constitutes a shotgun pleading, subject to

  dismissal. See Magluta v. Samples, 256 F.3d 1282, 1284 (11th Cir. 2001) (“Each count

  incorporates by reference the allegations made in a section [. . .] which comprises 146 numbered

  paragraphs [. . . ] [t]he result is that each count is replete with factual allegations that could not

  possibly be material to that specific count, and that any allegations that are material are buried

  beneath innumerable pages of rambling irrelevancies.”); see also Merchant One, Inc. v. TLO, Inc.,

  No. 19-CV-23719, 2020 WL 248608, at *3 (S.D. Fla. Jan. 16, 2020) (“Overall shotgun pleadings

  fail to make the connection between the substantive count and the factual predicates . . ..” (internal

  citations omitted)). Accordingly, dismissal is warranted. See Marrero v. Benetiz, 17-CV-21026,

  2017 WL 7796341, at *4 (S.D. Fla. Aug. 3, 2017) (dismissing amended complaint as a shotgun

  pleading where plaintiffs improperly grouped twelve plaintiffs and five defendants, thereby failing

  to allege which plaintiffs were bringing claims against specific Defendants or how each plaintiff

  had been injured by a defendant’s conduct).



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         Dismissal for failure to satisfy Rule 8 generally requires that the court afford the plaintiff

  leave to amend a first complaint. “When faced with a shotgun pleading, a district court must order

  a litigant to replead for a more definite statement of the claim.” Luft v. Citigroup Global Markets

  Realty Corp., 620 F. App’x 702, 704 (11th Cir. 2015). Because leave to amend is recommended,

  the Court further analyzes the deficiencies raised in Defendants’ motions to dismiss based on Rule

  12(b)(6), as repetition of such deficiencies would again warrant dismissal. See Fox v. Loews Corp.,

  309 F. Supp. 3d 1241, 1245 (S.D. Fla. 2018) (“Nevertheless, the Court addresses the Amended

  Complaint’s five claims and the parties’ arguments in order to give Plaintiff direction on how to

  proceed with a final, amended pleading…”).

     B. Rule 12(b)(6)

         Defendants additionally contend that the Second Amended Complaint should be dismissed

  for failure to state a claim in violation of Federal Rule of Civil Procedure 12(b)(6). To survive a

  12(b)(6) motion to dismiss, a complaint must contain facts sufficient to “state a claim for relief

  that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007); Fed. R. Civ.

  P. 12(b)(6). This requires a plaintiff to allege facts sufficient to raise grounds for relief that is

  plausible on its face. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). The facts alleged must allow a

  court to draw the reasonable inference that a defendant is liable for the misconduct alleged. Id.

  When considering a motion to dismiss, the reviewing court is limited to the facts contained in the

  complaint and the attached exhibits. See Wilchombe v. TeeVee Toons, Inc., 555 F.3d 949, 959 (11th

  Cir. 2009). The facts alleged are taken as true and all reasonable inferences are drawn in plaintiffs’

  favor. Chaparro v. Carnival Corp., 693 F.3d 1333, 1337 (11th Cir. 2012).

     1. Defamation Claims

         All three Motions move for dismissal on the basis that Plaintiffs failed to allege a facially



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   plausible legal claim for defamation. “In a defamation case, a plaintiff must allege certain facts

   such as the identity of the speaker, a description of the statement, and provide a time frame within

   which the publication occurred.” Five for Entm't S.A. v. Rodriguez, 877 F. Supp. 2d 1321, 1328

   (S.D. Fla. 2012) (citation omitted). As previously addressed, the Second Amended Complaint fails

   to allege facts sufficient to attribute publication of the defamatory statements to any named

   Defendant.

           Rather, Plaintiffs allege that “upon information and belief” the Defendants acted in concert

   to publish the defamatory emails, which were all sent anonymously (ECF No. 36 at ¶ 82). Yet,

   Plaintiffs fail to sufficiently allege the basis for this belief, or provide any information that would

   implicate all Defendants. While pleading “on information and belief” is permitted, “a plaintiff is

   still required to allege with particularity the factual basis upon which the information and belief

   was founded.” Five for Entm't S.A. 877 F. Supp. 2d at 1329 (finding there were not sufficient

   allegations, other that bare assertions on “information and belief” to implicate the defendants in

   the publication of defamatory statements). The only information provided within the Second

   Amended Complaint on which this belief seems to be based is that the emails are written in the

   first person plural (“we”) and Plaintiffs surmise thus that multiple people are responsible for their

   publication (ECF No. 36 at ¶ 82); that the email author(s) claimed to be franchisees and area

   representatives for Happy Tax (id. at ¶¶ 91, 93); the authors were aware of this lawsuit (id. at ¶

   97); and a letter sent to the anonymous email account was opened somewhere in Canada and in

   France (id. at ¶ 98).

           These facts are insufficient to allege that every and all Defendants are responsible for the

   publication of the false statements. The Second Amended Complaint alleges that Happy Tax was

   a “nationwide network” and one of the “fastest growing” tax franchises (id. at ¶¶ 18, 19). The



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   Second Amended Complaint also makes clear that Happy Tax had numerous other employees and

   franchisees, besides the named Defendants (id. at ¶ 66). Thus, just because there were multiple

   people behind the emails addresses who claimed to be “former and current Happy Tax Partners”

   (id. at ¶ 93) does not in any way indicate that it was specifically the named Defendants that were

   involved. Lastly, the fact that an email sent by Plaintiffs’ counsel to the anonymous email account

   was opened in Canada and France, and one of the ten Defendants resides in France (id. at ¶ 98), is

   not enough to implicate them all. Plaintiffs have failed to sufficiently identify the specific

   publishers of each defamatory email; have failed to state ant facts which would lead them to believe

   Defendants were responsible for the defamatory emails; and thus have failed to state a facially

   plausible claim for defamation in violation of Federal Rule of Civil Procedure 12(b)(6).

      2. Tortious Interference

          For the same reasons Plaintiffs’ defamation claims fail, so too must Plaintiffs’ claim for

   tortious interference. “The elements of tortious interference with a contract or with a business

   relationship are: (1) the existence of either a contract or a business relationship between the

   plaintiff and a third party, (2) the defendant’s knowledge of the contract or business relationship,

   (3) the defendant’s intentional and unjustified interference with the contract or business

   relationship, and (4) damage to the plaintiff.” Dick’s Sporting Goods, Inc. v. Forbes/Cohen Fla.

   Properties, L.P., No. 9:20-CV-80157, 2020 WL 1536443, at *3 (S.D. Fla. Mar. 30, 2020).

   Plaintiffs allege that Defendants interfered with Happy Tax’s business relationships “by

   continuously publishing false and defamatory statements regarding Happy Tax (ECF No. 36 at ¶

   125). But because the Second Amended Complaint fails to adequately identify which, if any, of

   the Defendants published the anonymous emails, they cannot establish the third element of their

   tortious interference claim as pled.



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         C. Single Publication Rule

             Defendants argue that the Single Publication Rule requires dismissal of all remaining

   counts against them. “Florida courts1 have held that a single wrongful act gives rise to a single

   cause of action, and that the various injuries resulting from it are merely items of damage arising

   from the same wrong. A contrary result might very well enable plaintiffs in libel to circumvent the

   notice requirements of Fla. Stat. 770.01 by the simple expedient of redescribing the libel action to

   fit a different category of intentional wrong.” Ortega Trujillo v. Banco Cent. Del Ecuador, 17 F.

   Supp. 2d 1334, 1339 (S.D. Fla. 1998) (finding “if the sole cause of action for the false light

   invasion of privacy claim is the same defamatory publication that gives rise to the defamation

   claim (i.e., the Press Release), the false light claim is precluded.”) (citations omitted); see also

   Callaway Land & Cattle Co. v. Banyon Lakes C. Corp., 831 So. 2d 204, 208 (Fla. 4th DCA 2002)

   (“[I]f the defamation count fails, the other counts based on the same publication must fail as well

   because the same privileges and defenses apply.”). Counts V – IX are not derived from the conduct

   arising from the alleged defamatory publications, and thus the Single Publication rule is

   inapplicable to these claims. Defendants advanced no other basis for dismissal with respect to these

   counts.

         D. Judicial Notice and Estoppel

             The doctrine of judicial estoppel may by applied at a court’s discretion “to prevent a party

   from asserting a claim in a legal proceeding that is inconsistent with a claim taken by that party in

   a previous proceeding.” Korman v. Iglesias, No. 18-21028-CV, 2018 WL 4410226, at *2 (S.D.

   Fla. June 28, 2018), report and recommendation adopted, No. 18-21028-CV, 2018 WL 4409973

   (S.D. Fla. Aug. 7, 2018), aff’d, 778 F. App’x 680 (11th Cir. 2019), cert. denied, 140 S. Ct. 560,



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       The Parties all agree that Florida law applies to the substantive claims.

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   205 L. Ed. 2d 358 (2019) (citation omitted). The party’s latter position must be “clearly

   inconsistent” with its earlier position. Id. Defendants Mainer-Smith and Bottom Line argue that

   Plaintiffs are judicially estopped from alleging that Defendants sent the defamatory emails because

   Plaintiffs took a contrary position in the Related Case: Plaintiffs sought leave to take expedited

   discovery from Defendants to identify who sent the emails. Defendants urge the Court to recognize

   that such a request inherently admits that Plaintiffs know it was not the Defendants who sent the

   emails (ECF No. 58 at 5-6). Defendants’ argument asks the Court to consider facts outside the

   Second Amended Complaint and indeed outside the allegations pled by Plaintiffs in the Related

   Case. Even if argument made in pursuit of expedited discovery could be the basis for applying

   judicial estoppel, Defendants’ argument mischaracterizes Plaintiffs’ position. The undersigned has

   declined to take judicial notice of the requested facts, and rejects Defendants’ request to dismiss

   based on the doctrine of judicial estoppel.

      E. Personal Jurisdiction Over Salyer

          Defendant Salyer alleges that the Plaintiffs fail to state a prima facie case of personal

   jurisdiction over her and that this Court has no jurisdiction over her (ECF No. 51 at ¶ 2). In support

   of this position, Salyer submitted an Affidavit as an attachment to her Motion to Dismiss, which

   attests to the following relevant facts: she resides in Virginia, and has lived there since 1983 (id.

   at ¶ 2); during her entire tenure with Happy Tax, she lived in Virginia (id. at ¶ 3); Happy Tax did

   not have a staffed office in Florida during her tenure with the company, but rather its presence was

   limited to a rented “WeWork” space used as a mail drop (id. at ¶ 4); her duties while at Happy Tax

   did not require her to work or attend meetings in the State of Florida (id. at ¶ 6); Happy Tax’s

   electronic files and servers were not maintained in Florida (id. at ¶ 7); and she has never owned

   real property or had a mailing address in Florida (id. at ¶¶ 21, 22). Despite the opportunity to



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   conduct jurisdictional discovery and submit a supplemental response, Plaintiffs have not refuted

   any of these facts.

          “In a motion to dismiss for lack of personal jurisdiction, a court must accept the facts

   alleged in plaintiff’s complaint as true, to the extent that they are not contradicted by defendant’s

   affidavits.” Kim v. Keenan, 71 F. Supp. 2d 1228, 1231 (M.D. Fla. 1999) (citing Cable/Home

   Commc’n Corp. v. Network Prods., Inc., 902 F.2d 829, 855 (11th Cir. 1990)). “A plaintiff seeking

   the exercise of personal jurisdiction over a nonresident defendant bears the initial burden of

   alleging in the complaint sufficient facts to make out a prima facie case of jurisdiction.” United

   Techs. Corp. v. Mazer, 556 F.3d 1260, 1274 (11th Cir. 2009).

          “Once the plaintiff pleads sufficient material facts to form a basis for in personam

   jurisdiction, the burden shifts to the defendant to challenge plaintiff’s allegations by affidavits or

   other pleadings.” Carmouche v. Carnival Corp., 36 F. Supp. 3d 1335, 1388 (S.D. Fla. 2014), aff’d

   sub nom. Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201 (11th Cir. 2015). If the defendant

   challenges personal jurisdiction “by submitting affidavit evidence in support of its position, the

   burden traditionally shifts back to the plaintiff to produce evidence supporting jurisdiction.” Louis

   Vuitton Malletier, S.A. v. Mosseri, 736 F.3d 1339, 1350 (11th Cir. 2013) (internal citation omitted).

   If the plaintiff’s allegations and supporting evidence conflict with the defendant’s affidavits, the

   court must construe all reasonable inferences in favor of the plaintiff. Meier ex rel. Meier v. Sun

   Int’l Hotels, Ltd., 288 F.3d 1264, 1269 (11th Cir. 2002). Thereafter, if such inferences are sufficient

   to defeat a motion for judgment as a matter of law, “the court must rule for the plaintiff, finding

   that jurisdiction exists.” PVC Windoors, Inc. v. Babbitbay Beach Constr., N.C., 598 F.3d 802, 810

   (11th Cir. 2010). “But, when the plaintiff offers no competent evidence to the contrary, a ‘district

   court may find that the defendant’s unrebutted denials [are] sufficient to negate plaintiff’s



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   jurisdictional allegations.’” Serra-Cruz v. Carnival Corp., 400 F. Supp. 3d 1354, 1357 (S.D. Fla.

   2019) (citing Zapata v. Royal Caribbean Cruises, Ltd., No. 12-cv-21897, 2013 WL 1100028, at

   *2 (S.D. Fla. Mar. 15, 2013)).

          “A federal court sitting in diversity undertakes a two-step inquiry in determining whether

   personal jurisdiction exists: the exercise of jurisdiction must (1) be appropriate under the state

   long-arm statute and (2) not violate the Due Process Clause of the Fourteenth Amendment to the

   United States Constitution.” United Techs. Corp., 556 F.3d at 1274. “The Due Process Clause

   requires that the defendant have minimum contacts with the forum state so that the exercise of

   personal jurisdiction over the defendant does not offend traditional notions of fair play and

   substantial justice.” Peruyero v. Airbus S.A.S., 83 F. Supp. 3d 1283, 1287 (S.D. Fla. 2014) (citing

   Melgarejo v. Pycsa Pan., S.A., 537 F. App’x 852, 858-59 (11th Cir. 2013)). “Both parts [of the

   test] must be satisfied for a court to exercise personal jurisdiction over a non-resident.” Am. Fin.

   Trading Corp. v. Bauer, 828 So. 2d 1071, 1074 (Fla. 4th DCA 2002).

          1. Florida’s Long-Arm Statute

          Florida’s long-arm statute provides for two theories of jurisdiction: (1) specific jurisdiction,

   if the suit that arises out of or is related to a defendant’s contacts with Florida in one of a number

   of enumerated ways, Fla. Stat. § 48.193(1)(a); or (2) general jurisdiction, if the defendant engages

   in “substantial and not isolated activity” in Florida, id. § 48.193(2). Carmouche v. Tamborlee

   Mgmt., Inc., 789 F.3d 1201, 1203-04 (11th Cir. 2015). Florida’s long-arm statute is to be strictly

   construed, any doubts about the applicability of the statute are resolved in favor of the defendant

   and against a conclusion that personal jurisdiction exists.” Gadea v. Star Cruises, Ltd., 949 So. 2d

   1143, 1150 (Fla. 3d DCA 2007) (citing Seabra v. Int'l Specialty Imp., Inc., 869 So. 2d 732, 733

   (Fla. 4th DCA 2004)).



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          Plaintiffs’ Second Amended Complaint alleges that the Court has personal jurisdiction over

   Salyer because her “tortious and improper acts occurring outside of Florida were specifically

   designed to harm and did harm Plaintiffs within Florida,” where Salyer knows Happy Tax is

   located (ECF No. 39 at ¶ 16). In Plaintiffs’ response and supplemental response to Salyer’s Motion

   to Dismiss, Plaintiffs claim to have established a prima facie case for both general and specific

   personal jurisdiction over Salyer (ECF Nos. 59 at 3, 71 at 3).

          2. Due Process Requirements for Specific Jurisdiction

          Specific jurisdiction “depends on an affiliation between the forum and the underlying

   controversy.” Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 919, 131 S. Ct.

   2846, 2851, 180 L. Ed. 2d 796 (2011) (citation omitted). “Specific jurisdiction arises out of a

   party’s activities in the forum that are related to the cause of action alleged in the complaint.”

   Consol. Dev. Corp. v. Sherritt, Inc., 216 F.3d 1286, 1291 (11th Cir. 2000) (citing Madara v. Hall,

   916 F.2d 1510, 1516 n.7 (11th Cir. 1990). “[A] court has the minimum contacts to support specific

   jurisdiction only where the defendant ‘purposefully avails itself of the privilege of conducting

   activities within the forum State, thus invoking the benefits and protections of its laws.’” Id.

   (quoting Hanson v. Denckla, 357 U.S. 235, 253 (1958)). “The requirement that there be minimum

   contacts is grounded in fairness,” id., and assures that “the defendant’s conduct and connection

   with the forum State [is] such that [it] should reasonably anticipate being haled into court there,”

   World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286, 297 (1980); see also Fraser v. Smith,

   594 F.3d 842, 847-48 (11th Cir. 2010) (discussing specific jurisdiction under Florida’s long-arm

   statute); Vermeulen v. Renault, U.S.A., Inc., 985 F.2d 1534, 1546 (11th Cir. 1993) (discussing

   minimum contacts for purposes of specific jurisdiction consistent with due process). Accordingly,

   the Due Process Clause “imposes a more restrictive requirement than does Florida’s Long-Arm



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   Statute.” Melgarejo v. Pycsa Panama, S.A., 537 F. App’x 852, 859 (11th Cir. 2013) (citation

   omitted).

           3. General Personal Jurisdiction Over Salyer

           Under Florida’s long-arm statute “[a] defendant who is engaged in substantial and not

   isolated activity within this state, whether such activity is wholly interstate, intrastate, or otherwise,

   is subject to the jurisdiction of the courts of this state, whether or not the claim arises from that

   activity.” Fla. Stat. § 48.193(2). “Florida courts have recognized the term ‘substantial and not

   isolated activity,’ in the long arm statute to be the functional equivalent of the continuous and

   systematic contact requirement for general jurisdiction under the Due Process Clause of the

   Fourteenth Amendment. Bernardele v. Bonorino, 608 F. Supp. 2d 1313, 1327 (S.D. Fla. 2009).

           Second Amended Complaint fails to allege facts sufficient to give base this Court’s

   exercise of general personal jurisdiction. However, in Plaintiffs’ initial response to Salyer’s

   Motion to Dismiss, Plaintiffs aver that Salyer’s own affidavit, along with other attached exhibits,

   provide a prima facie case of general jurisdiction. (ECF No. 59 at 3-4). Plaintiffs point to the fact

   that Salyer previously owned a business in Florida which she sold in 2009; that she received a

   traffic ticket in Florida sometime prior to selling her business in 2009; that she vacations in Florida

   every other year; and that her current employer maintains an office in Florida (id. at 4). After

   receiving leave from Court to conduct jurisdictional discovery (ECF No. 63), Plaintiffs filed a

   supplemental motion reiterating and elaborating on the same facts in support of general personal

   jurisdiction (ECF No. 71 at 3-5). Plaintiffs additional advance the fact that Salyer maintained a

   Florida phone number; “held whichever state or local licenses or permits that were required to run

   the Pet Shop until such time as she sold it in 2009”; and executed an Independent Consultant

   Agreement with the Franchise Consulting Company (“FCC”), a Florida Company (id.). This



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   Consultant Agreement requires notices to be sent to Florida, states that the “laws of the State of

   Florida shall apply in any action or proceeding arising from or in connection with” the Consultant

   Agreement, and requires disputes arising from the Consultant Agreement to be mediated in Florida

   (id.).

            In her reply, Salyer argues that her contacts with the State of Florida are insubstantial,

   isolated, and do not subject her to the Court’s jurisdiction (ECF No. 73). The undersigned again

   agrees. Salyer rightfully points out that the question is not whether she could have been subject to

   the Court’s jurisdiction over ten years ago, but whether she is now subject to it now (id. at 4). Thus,

   assuming without finding that owning a business in Florida may have subjected Salyer to general

   personal jurisdiction when she owned it from 2008-2009, it does not continue to do so over a

   decade later. See Crowe v. Paragon Relocation Res., Inc., 506 F. Supp. 2d 1113, 1122 (N.D. Fla.

   2007) (“In considering a defendant’s contacts, courts must look at the defendant’s activities

   collectively over a relevant period of years leading up to the lawsuit.”).

            Nor does the Court find Salyer’s more recent contacts with the state to be “substantial and

   not isolated.” As for Salyer’s position as an independent contractor for FCC, she asserts that she

   does not conduct business, advertise or seek business in Florida and Plaintiff has not provided any

   facts to show otherwise. Nor does the Court find that Salyer is subject to general personal

   jurisdiction based on her Independent Consultant Agreement with FCC, which contains a Florida

   forum selection and mediation clause. In Florida, “a contractual choice of forum clause designating

   Florida as the forum cannot serve as the sole basis for asserting in personam jurisdiction over an

   objecting, non-resident defendant.” iRenew Bio Energy Sols., LLC v. Harvest Direct, LLC, No. 11-

   81310-CIV, 2012 WL 13019219, at *2 (S.D. Fla. May 25, 2012) (citing McRae v. J.D./M.D., Inc.,

   511 So. 2d 540, 544 (Fla. 1987)). Occasional vacations likewise fail to subject Salyer to general



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   personal jurisdiction. See Pathman v. Grey Flannel Auctions, Inc., 741 F.Supp.2d 1318, 1323

   (S.D.Fla.2010) (finding defendant's “two to three” yearly business trips to Florida insufficient for

   exercise of general jurisdiction); Aronson v. Celebrity Cruises, Inc., 30 F. Supp. 3d 1379, 1389

   (S.D. Fla. 2014) (“[A]nnual trips to Florida . . . do not constitute ‘substantial activity’ in the state

   sufficient to establish general personal jurisdiction.”).

           4. Specific Personal Jurisdiction Over Salyer

           Under Florida’s long-arm statute, a court may exercise specific personal jurisdiction over

   a non-resident defendant who is engaging in one of the enumerated acts listed under Fla. Sta. §

   48.193(1)(a). The scope of the Florida long-arm statute is a question of Florida law. See Madara

   916 F.2d at 1514. If Florida’s long-arm statute authorizes specific personal jurisdiction over a

   defendant, courts must then determine whether that reach comports with due process. Sculptchair,

   Inc. v. Century Arts, Ltd., 94 F.3d 623, 630 (11th Cir. 1996).

           The specific jurisdiction portion of the long-arm statute lists certain acts which may subject

   nonresident defendants to the jurisdiction of Florida courts. See Fla. Stat. § 48.193(1)(a). Plaintiffs’

   Second Amended Complaint only provides one basis for personal jurisdiction over Salyer – that

   her “tortious and improper acts occurring outside of Florida were specifically designed to harm

   and did harm Plaintiffs within Florida,” where Salyer allegedly knows Happy Tax is located (ECF

   No. 39 at ¶ 16). This basis would fall under specific personal jurisdiction, pursuant to Fla. Stat. §

   48.193(1)(a)(2), which has been held by the Eleventh Circuit “to apply to defendants committing

   tortious acts outside the state that cause injury in Florida.” Posner v. Essex Ins. Co., Ltd., 178 F.3d

   1209, 1217 (11th Cir. 1999).

           Salyer argues that the Second Amended Complaint fails to provide any details to support

   Plaintiffs’ allegation that the harm was specific to Florida or felt disproportionally there. The



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   undersigned agrees. While Plaintiff avers that its main place of business is Miami Beach, Florida,

   this assertion has been rebutted by Salyer’s Affidavit attesting that at the time of her employment,

   Happy Tax did not have any staffed Offices in Florida but rather rented a WeWork space in Florida

   as a mail drop (ECF No. 51 at ¶ 4). Furthermore, Plaintiff Costanz – the founder, former Chief

   Executive Officer of Happy Tax and sole member of Happy Tax – is a citizen of New York (ECF

   No. 39 at ¶ 4); no factual basis is alleged for his injury being felt in Florida. Other than the

   conclusory assertion that Salyer’s acts were designed to harm Plaintiffs’ in Florida, the Second

   Amended Complaint fails to allege facts sufficient to support this assertion.

          Nor does Plaintiffs’ response or supplemental response provide any evidence to rebut

   Salyer’s sworn statements. Both responses merely reiterate the claims within the Second Amended

   Complaint that Happy Tax is a Florida company with its principal place of business in Florida and

   that Happy Tax has a continues to suffer damages in the State of Florida. These unsubstantiated

   averments are insufficient in light of the evidence advanced by Defendant Salyer that undermines

   Plaintiffs’ allegations regarding where Plaintiffs felt injury. Accordingly, Florida’s long-arm

   statute does not authorize specific jurisdiction over Salyer on these claims.

          Finally, Plaintiffs have failed to allege facts sufficient to satisfy the more restrictive Due

   Process Clause. The only facts proffered by Plaintiffs to meet the minimum contacts requirement

   are those same facts that failed to meet the requirements for general jurisdiction. Just as these facts

   were insufficient to show Salyer had non-isolated contacts with the state, they too cannot show

   that Salyer purposefully availed herself of the privilege of conducting activities within the forum

   State, thus invoking the benefits and protections of its laws. Because the Court does not have

   specific or general personal jurisdiction over Salyer, I recommend that the Motion be granted, and

   the Second Amended Complaint be dismissed with respect to Defendant Salyer.



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      III.      CONCLUSION

             For the forgoing reasons, I recommend that Defendants’ Motions (ECF Nos. 41, 51, 58) be

   GRANTED; Plaintiffs’ Second Amended Complaint be dismissed without prejudice; and that

   Defendant Salyer be dismissed with prejudice.

             Pursuant to Local Magistrate Rule 4(b), the parties have fourteen (14) days to serve and

   file written objections, if any, with the Honorable Federico A. Moreno, United States District

   Judge. Failure to file objections by that date shall bar the parties from de novo determination by

   the District Judge of any factual or legal issue covered in the Report and shall bar the parties from

   challenging on appeal the District Judge’s Order based on any unobjected-to factual or legal

   conclusions included in the Report. See 28 U.S.C. § 636(b)(1); 11th Cir. Rule 3-1; Patton v.

   Rowell, 2017 WL 443634 (11th Cir. Feb. 2, 2017).

             RESPECTFULLY SUBMITTED in Chambers, in Miami, Florida this 2nd day of

   September, 2020.



                                                         ________________________________

                                                         LAUREN F. LOUIS
                                                         UNITED STATES MAGISTRATE JUDGE




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